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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

v. Criminal No. 14-10067-RWZ

FATHALLA MASHALI
ORDER COMPELLING PRODUCTION OF
DEFENDANT’S MEDICAL, MENTAL HEALTH, AND PSYCHIATRIC RECORDS
ZOBEL, RYA w., J.

Upon consideration of the government’s Motion for an Order
Compellinq Production of Defendant's Medical, Mental Health, and
Psychiatric Records (“Motion”) under 18 U.S.C. § 4241 to evaluate
the defendant’s competency, and with the assent of the defendant,
Fathalla Mashali, it is hereby ORDERED AND DIRECTED as follows:

l. Massachusetts General Hospital, MGH Main Campus, 55 Fruit
St., Boston, MA, 02114-2621 is ORDERED to provide the government,
by September 1, 2017, complete copies of medical, mental health,
and psychiatric records of Fathalla Mashali, date of birth
xx/xx/1954, including any notes, charts, evaluations, reports,
test results, and memorializations of observations of the
defendant and conversations between the defendant and the health
care provider, even if that provider is a psychiatrist or a

psychologist. The term “government” includes members, employees,

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and contractors of the Federal Bureau of Investigations (“FBI”),
Health and Human Services, Office of Inspector General (“HHS~
OIG”), the Internal Revenue Service, Criminal lnvestigation (“IRS-

CI”), Massachusetts Insurance Fraud Bureau {“IFB”), and the United
States Attorney’s Office/Boston {“USAO”), assigned to this matter.

2. Upon receipt of these records, the government is ORDERED
to provide a copy of each record to the forensic psychologist
designated by Federal Medical Center - Devens, Ayer, MA, and to
Fathalla Mashali;

3. If the designated forensic psychologist determines that
he needs assistance of another medical professional in evaluating
Fathalla Mashali's competency, the Court ALLOWS the government
and the forensic psychologist to disclose said records to such a
medical professional for the sole purpose of assisting with
Fathalla Mashali’s evaluation for competency to stand trial.

4. Unless expressly provided by this ORDER, the government
is ORDERED not to disclose Fathalla Mashali's medical, mental
health, and psychiatric records to any third party not a memberr
employee, or contractor of the FBI, HHS-OIG, IRS-CI, IFB, or USAO

assigned to the above-captioned matter.

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